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             EXHIBIT A
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1    SINGER:   -- that have come into our foundation and so they

2        asked me, you know, about the $300,000 payment, um --

3    ABDELAZIZ:       Yes.

4    SINGER:   -- that was made.

5    ABDELAZIZ:       Yes.

6    SINGER:   And so I just want you to know from the IRS, you

7        know, I’m not going to tell the IRS anything about the

8        fact that your $300,000, um, was paid to Donna -- Donna

9        Heinel at USC to get               into school even though she

10       wasn’t a legitimate basketball player at that level.              So

11       I’m not going to -- I’m not going to say that to the IRS

12       obviously.     Are you --

13   ABDELAZIZ:       OK.

14   SINGER:   You’re OK with that, right?

15   ABDELAZIZ:       Of course.

16   SINGER:   OK.    I just -- I just want to make sure.        I never

17       know with families, right.        But here’s the funny thing.

18   ABDELAZIZ:       No, I -- I mean, I -- you know, I mean, I -- I

19       -- my intention was to, uh, donate the money to the

20       foundation and, uh, what -- you know, and then from there

21       obviously, uh...      I don’t think...     Uh, do they have the

22       intention of reaching out to the people that sent those

23       [04:00] payments?      Is that what you’re saying?
